      Case 19-10246-JDW                       Doc 61       Filed 08/17/20 Entered 08/17/20 10:16:04                                Desc Main
 Fill in this information to identify the case:           Document      Page 1 of 9
 Debtor 1                Nicole Denise Tunstall
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                             Northern District of Mississippi
 United States Bankruptcy Court for the: ____________________________________
                                          ______________________   District of __________
                                                                             (State)
 Case number             19-10246
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: USDA
                   _______________________________________
                         - Rural Housing Service                                                                               2
                                                                                         Court claim no. (if known): _____________________
                   Customer Service Center
 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                            6 ____
                                                         ____  9 ____
                                                                   8 ____
                                                                       4                 Must be at least 21 days after date         09/17/2020
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                                859.93
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
      ✔
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                    245.98
                   Current escrow payment: $ _______________                           New escrow payment:                   255.52
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                                                      850.39
                   Current mortgage payment: $ _______________                                                         859.93
                                                                                       New mortgage payment: $ _______________
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Part 4:        Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

    
    ✔    I am the creditor.

        I am the creditor’s authorized agent.



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



8_____________________________________________________________
  /s/ Cecil Edwards/bjd
   Signature
                                                                                     Date       08/17/2020
                                                                                             ____/_____/________




Print:           Cecil Edwards/bjd
                 _________________________________________________________           Title   Bankruptcy Specialist
                                                                                             ___________________________
                 First Name                 Middle Name       Last Name



Company          USDA - Rural Housing Service
                 _________________________________________________________
                 Customer Service Center

Address          PO Box 66879
                 _________________________________________________________
                 Number            Street

                 St. Louis, MO 63166
                 ___________________________________________________
                 City                                         State       ZIP Code



Contact phone    (800) 349-5097
                 (______)        ext.
                          _____– _________                                                 csc.bkr@stl.usda.gov
                                                                                     Email ________________________
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                                       INTHEUNITEDSTATESBANKRUPTCYCOURT
                                         Northern District of Mississippi
                                             PAYMENTCHANGESUMMARY
 CompletedBy: Cecil Edwards/bjd                                                                         08/17/2020
                                                                                                             (Date)


 Debtor(s)& Nicole Denise Tunstall                                   CaseNo.         19-10246
   Address:                                                         ClaimNo.             2
              124 Coleman Cove                                    USDAAcctNo.       6 9 8 4
              Byhalia, MS 3861




 Attorney& Robert H. Lomenick, Jr.                                  Trustee& Locke D. Barkley
    Address: P.O. Box 417                                               Address: 6360 I-55 North
               Holly Springs, MS 38635                                             Suite 140
                                                                                   Jackson, MS 39211




Effective      09/17/2020     ,themonthlyongoingpaymentischangingdueto:

 No         Yes ✔   ESCROW:
 No ✔ Yes           OTHER:



                                                 PAYMENTCALCULATION

                               Current Payment                                         New Payment

   Principal & Interest                  604.41            Principal&Interest                604.41
   Less Subsidy                            0.00            LessSubsidy                          0.00
   Total P&I Payment                     604.41            TotalP&IPayment                   604.41



   Escrow                                245.98            Escrow                              218.79
   Escrow shortage                         0.00            Escrowshortage                      36.73
   Total Escrow                          245.98            TotalEscrow                        255.52


   Fees                                     0.00           Fees                                     0.00

   Total Payment                         850.39            TotalPayment                       859.93
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                                 Northern District of Mississippi                  Case No.    19-10246
                                                                                   Claim No.       2


                                 CERTIFICATE OF SERVICE

I, Cecil Edwards/bjd , do hereby certify that on 08/17/2020 , I served copies of the Notice of Mortgage
Final CureChange,
Payment    Payment to the following participants by the United States Postal Service, postage
prepaid, and/or by CM/ECF as indicated:


By U.S. Mail, postage prepaid:
                                 Nicole Denise Tunstall

Debtor(s)
                                 124 Coleman Cove
                                 Byhalia, MS 3861




Via CM/ECF:

Debtor’s Attorney of Record:     Robert H. Lomenick, Jr.
                                 P.O. Box 417
                                 Holly Springs, MS 38635




Chapter 13 Trustee:              Locke D. Barkley
                                 6360 I-55 North
                                 Suite 140
                                 Jackson, MS 39211




Date: 08/17/2020                      /s/ Cecil Edwards/bjd
                                       Cecil Edwards/bjd
                                      Bankruptcy Specialist
                                      USDA, Rural Housing Service
                                      1-800-349-5097 ext. 5469




                                                  “
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